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FD:302 (Rev. 5-810) 1 ef 8

FEDERAL BUREAU OF INVESTIGATION

Date:of entry 09/29/2029

De. Tim Runco, telephone number residing at a

ME 2: ic erviewed at the Pittsburgh Dental
Spa at ees he interview was

eonducted by SA Donald Peterson and TPO Shawna Gilbert. The interview was

 

audio recorded and this report is a summary of Dr. Runco’s statements. After
being advised of the identities of the agents and the nature of the
interview, Dr. Runco provided the following information:

Dr. Runeo first met Dr. Larry Rudolph (hereinafter referred to as “Rudolph”)
in 1991 when Dr. Runco interviewed to join The Dentistry. At the time, The
Dentistry was owned and operated by Rudolph and Dr. John Tiano. By 1993, Dr.
Runco was a minority partner in The Dentistry with Rudolph and Dr. Tiano.
Dr. Runco Frerained at The Dentistry for approximately 20 years.

Dr. Runco Said Rudolph “can be a charming guy, but it’s all a ruse.” Dr.
Runco went on to say, “The real Larry Rudolph is all sorts of bad things.
He’ Ss not a good Human being. I worked with Him for 20 years arid he’s not a
good person.” Dr. Runco described Rudolph as a “wery vindictive” person with
an “awful temper.” Although Rudolph. was often verbally abusive to co-workers
and. employees, Dr. Runco never observed Rudolph being physically abusive
toward anyone. Rudolph frequently made the statement “I will burn you. down”

to Dr. Runco and others.

Dr. Runco said Rudolph routinely engaged in insurance fraud while working as
a dentist. In the 1990s and early 2000s, The Dentistry provided services. to
several US Air employees. The dental insurance coverage for US Air patients
was unique in that it paid 100% of all treatment costs with no annual
taxinum. Rudolph regularly manipulated treatment and radiograph processes to
justify performing and charging for additional procedures that were not
néédéd. Rudolph refused to do fillings because they did not generate enough

profit. As a result; Dr. Runco was often required. to handle fillings.

 

Investigationon. O9/11/2020 a Pittsburgh, Pennsylvania, United States (Tn Person)

i Datedrafted 09/23/2020

py Donald Peterson, GILBERT SHAWNA JO

 

 

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Instead, Rudolph would drill out a tooth and send images. to the insurance
company after the drilling to Justify a Crowh or A root canal. The ¢rowns
and. root. canals generated significantly more profit than a filling. Runco
said, “He did that all. the time.” Although Dr. Tiano equated. Rudolpn’s
activities with “assault,” he tolerated the behavior because Rudolph was
“the biggest earner” and The Dentistry was benefiting financially. Dr. Runco
also believed Dr. Tiano was afraid of Rudolph.

Dr. Runco suspected Rudolph committed insurance fraud in 2007 oer 2008 when
hé (Rudolph) suffered an injury to Ais thumb. According to Rudolph, he was
fishing in Africa when an alligator emerged from the water and bit his Rand.
As a result; Rudolph lost part of a thumb and was unable to continue working
as a déntist. It was common for Rudolph to travel to Africa or elsewhere for
two to four weeks at a time for big game hunting trips. Rudolph took such

trips multiple times each year.

Dr. Runco became. suspicious the day Rudoloh left for the trip after a DEA
form 222 arrived at The Dentistry. The form showed Rudolph had ordered a
quantity of injectable narcotics prior to his travel. Dr. Runco said, “He
wanted to take some serious pain relievers with him.” Based on the timing of
the arrival of the form, Rudolph was not successful in obtaining those drugs
from that specific manufacturer prior to traveling. The injectable narcotics
listed on the form were not used during the normal course of business at The

Dentistry, and Dr. Runco had never used them in the practice.

Several weeks after the form arrived at The Dentistry, Dr. Runco. was
informed that Rudolph had sustained the injury to his thumb in Africa. Dr.
Runeo said, “Stuff started clicking in my mind.” Dr. Tiano said Rudolph had
four disability policies, including one policy shared by all three partners
in the practice, at the time of his injury. One or two of the policies
provided significant lumps sum payments and others provided monthly
installments. Dr. Runco said, “Yeah, it's abnormal” when asked about Rudolph
having. four séparate policies. By comparison, Dr. Runco had one disability
insurance policy at the time of interview. He purchased the policy early in
his career and the benefit was approximately $3,000 per month. Dr. Runco
said, “I know he planned this because he wanted to collect. on. this and quit
doing dentistry.” Dr. Rurco went on to say, “He wanted to bé disabléd” as

the insurance policies “were not. little.”

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The three partners of The Dentistry had multiple written agreements related
to their shared ownership of the practice. One such agreement required
anyone who suffered a career-ending injury to relinguish their ownership
Lntéerest. in The Dentistry. After suffering the thumb injury that prevented
him from continuing to perform dentistry, Rudolph refused to leave The
Dentistry. Although it was not necessary, Dr. Tiano offered to buyout
Rudolph’s interest in the practice, but Rudolph continued. to refuse to
leave. Rudolph wanted to continue running the business of The Dentistry
without working as a dentist.

Tn 2009, after Rudolph was disabled, he convened a meeting of staff
personnel at the Greensburg office. During the meeting, Rudolph cursed,
yelled, and made derogatory statements to and about multiple employees.
Following the meeting, Rudolph tore an exit sign from the ceiling and threw
Lt down the hallway in anger.

Shortly after the meeting, Assistant Office Manager Ric Edrtiunds a
m7 discovered Rudolph was embezzling money from.The Dentistry. Rudolph
was working with Office Manager Frank Lbangell i to steal cash
payments provided by patients. Dr. Runco said Rudolph and Langell “were

thick as thieves” at the time. Dr. Runco added, “Frank was probably afraid

of him.”

Rudolph and Langell encouraged patients to pay cash for treatments by
offering discounts for cash payments. They would then. take the money and
“clear the chart” by deleting the account. Dr. Runco Said cash payments for
the “large cases” they worked at The Dentistry were rare during the normal
course of business. Most customers paid by. check or credit card. Dr. RuncoS
said incentivizing cash payments was done “to take the money and put it in
your pocket to not pay taxes on it.” By contrast, Dr. Runco said
approximately one percent of the business at this current practice is
transactéd in cash payments. Edmunds discovered the deleted accounts file on
the computer and brought the irregularities to the attention. of Dr. Tiano
and Dr. Runco. The file showed Rudolph and Larigell stole approximately
$400,000 from The Déntistry over five years.

Dr. Tiano and Dr. Rurico took the evidence to thelr attorneys and held
meetings with Rudolph. and Langeli. Dr. Tilano and Dr. Runco agreed not to
pursue criminal charges against Rudolph if he agreed to leave the practice.

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Rudolph agreed to the terms. Langell was also fired at the time, but later
came back to work for Dr. Tiano in. computer marketing. Dr. Runco said,
“Larry Rudolph probably had Wim (hangell) scared. He (Rudolph) was abusive
and he could gét people to do things.” Rudolph’s ownership shares in The
Dentistry were divided between. Dr. Tiano and Dr. Runco. Drs Tianoe changed
the Locks at the offices and hired private security for the property after
separating Drom Rudolph.

Dr. Tiano later made several attempts to buyout Dr. Runco. After a
tumultuous légal battle, Dr. Tiano paid Dr. Runco $1.3 million. for his share
of The Dentistry. After Leaving The Dentistry, Dr. Runco used the buyout
money to establish his current practice; the Pittsburgh Dental Spa.

During the time Dr. Tiano and Dr. Runco were formalizing their separation,
an unidentified individual fired several shots at Dr. Tiano outside the
Irwin. office. Dr. Tiano was standing near his vehicle when someone shot at
him several times, striking His car door. Dr. Tiano was not injured. As a
result of their ongoing legal matters related to The Dentistry, Dr. Runco
was interviewed by state police to determine his possible involvement in the
shooting. Dr. Runco said he had no proof, but “it was probably Larry. He's
opportunistic.” Dr. Runco thought. Rudolph was capable of trying to kill Dr.
Tiano as retaliation for His firing from The Dentistry. He believed Rudolph
would commit the crime during the ongoing legal issues between Dr. Tiano and
Dr. Runco to maké it look. like Dr. Runco was responsible. Dr. Runco said,

“That's something Larry Rudolph would do.”

In 2016, Dr. Runco was notified by Attorney Kevin Colosimo that Bianca
Rudolph (heréinafter referred to 4s “Bianca”) was killed while hunting in
Africa. Colosimo is a friend of Ralph Finizio, who is Bianca’s brother.
Colosimo said Bianca was shot in the chest inside her tent. while she was
packing. to leave Africa after a safari trip. According to Colosimo, Rudolph
had Bianca cremated in Africa within days of her death. Larry and Bianca
Rudolph were expected at théir nephew's wedding in New York following the
safari. They did not show up at the wedding and Rudolph did not inform
anyone of the circumstances, Rudolph did not notify anyone in his family,
including his two children, of Bianca’s death for approximately one and one-
half weeks. Based on the circumstances of hnér death, and the fact that
Bianca was am experienced hunter; Dr. Runco believed. Larry Rudolph killed

his wifé. Dr. Ruinco said, “I know He's capable of this. He's really crazy.”

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Dr. Runco met Bianca during several social events sponsored by The
Déntistry. He said Bianca was “always nice and personable.” Hé described her

as a graclous, mice lady.

One of the reasons Dr. Runco believed Rudolph killed Bianca is because
Rudolph was having multiple extramarital affairs. Dr. Runco said, “harry had
several affairs while he was married with Bianca.” The first affair Dr.
Runco becamé aware of involved Rudolph and a female who worked. at. the mall
where their dental practice was located. Dr. Runco saw Rudolph. and the

female mall employee together on multiple occasions away. from the office.

Later, Rudolph engaged in a long-term, extramarital affair with Lori
Milliron. Milliron first started working at The Dentistry as a dental
hygienist. She and Rudolph then started an intimate relationship. Dr. Runco
said, “I think she got pregnant as well.” Dr. Runco said he heard the
pregnancy rumor from a co-worker. Dr. Runco said Rudolph and Milliron were
initially secretive about their relationship and bécame much ‘more overt in
the years preceding Bianca’s death. Rudolph and Milliron were less cautious
about hiding their relationship in later years because Bianca was living at
the Rudolph’s residence in Arizona while Rudolph and Milliron were together

in Pennsylvania.

Regarding Bianca’s death, Dr. Runco said, “I've got to put everything
together. I know this man. I know how he is. I know how crazy he can be. If
you're no use to Him he’ il either fire you, walk away, or kill you. He's so
driven by money he didn’t want to pay alimony if he divorced her.” Dr. Runcéo
went on to say, “It did not surprise me when I heard it, that Bianca died in
a freak accident in Africa,.he was seéing Tori Milliron.” Dr. Runco added,
“It was about money; he killed her plain and simple; to mex If she would
have said ‘I'll just leave you and I don’t want anything,” she would still

be alive.”

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